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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                    Case No. 1:18-cv-00950-LO-JFA
                 v.

 COX COMMUNICATIONS, INC., et al.,

                         Defendants.



                              DEFENDANTS’ MOTION TO SEAL

       Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and Local Civil Rule 5,

Defendants (“Cox”) move the Court to enter an order allowing Cox to file one sealed exhibit (Dkt.

34-3), because it constitutes or discusses confidential business information belonging to

Defendants that Defendants had designated as “Highly Confidential” during discovery in BMG

Rights Management LLC, et al. v. Cox Communications, Inc., et al. (BMG v. Cox), Case No. 1:14-

cv-01611-LO-JFA.

       1.      As explained below, the procedural prerequisites for sealing have been met.

       2.      Under the local rules, a party may file a motion to seal together with the sealed

filings. E.D. VA. CIV. R. 5(D). Thereafter, the Court will determine whether the sealing is proper.

Cox follows that practice in this motion.

       3.      Under current Fourth Circuit law, the district court must do the following prior to

sealing any court records:

            (1) give public notice of the request to seal and allow interested parties
            a reasonable opportunity to object, (2) consider less drastic alternatives
            to sealing the documents, and (3) provide specific reasons and factual
            findings supporting its decision to seal the documents and for rejecting
            the alternatives.
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Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000). Each procedural requirement has been

met here by Cox’s sealing motion.

          4.     To satisfy the first requirement, the Court must provide notice of a request for

sealing in the court record and provide interested persons with “an opportunity to object.” In re

Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Individual notice is not required, and the Court

may give adequate notice either by “notifying the persons present in the courtroom of the request

to seal” at the time of the hearing, or by “docketing [the sealing request] in advance of deciding

the issue.” Id. In accordance with Local Civil Rule 5 procedure, this sealing motion was publicly

docketed in advance of the hearing, satisfying the first requirement.

          5.     To meet the second requirement, the Court must consider using redactions or

limited sealing (either in scope or duration) in lieu of permanent, blanket sealing. To satisfy the

second requirement, Cox used limited sealing measures—viz., sealing an exhibit, but not the entire

filing.

          6.     To meet the third requirement, the Court must make specific findings, supported by

the record, that justify sealing under the applicable standard. Cox has sealed portions of a transcript

designated as Highly Confidential pursuant to the parties’ protective order in BMG v. Cox. Cox

also meets the third requirement because the transcript contains confidential proprietary

information.

          Based on the foregoing, the motion to seal should be granted. A proposed order is submitted

herewith.




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Dated: October 15, 2018

                                              Respectfully submitted,

                                              /s/ Thomas M. Buchanan
                                              Thomas M. Buchanan (VSB No. 21530)
                                              WINSTON & STRAWN LLP
                                              1700 K Street, NW
                                              Washington, DC 20006-3817
                                              Tel: (202) 282-5787
                                              Fax: (202) 282-5100
                                              Email: tbuchana@winston.com

                                              Attorney for Cox Communications, Inc.
                                              and CoxCom, LLC

Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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                                CERTIFICATE OF SERVICE

I hereby certify that on October 15, 2018, the foregoing was filed and served electronically by
the Court’s CM/ECF system upon all registered users:


                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC




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